     Case 1:17-cr-00224-AT-CMS Document 132 Filed 10/07/19 Page 1 of 7




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA,           )
         Plaintiff,                 )
                                    )
v.                                  ) Case No. 1:17-cr-00224-AT-CMS
                                    )
ALLEN J. PENDERGRASS,               )
          Defendant.                )
____________________________________)

              MOTION TO RECONSIDER ORDER DENYING
                 MOTION TO SUPPRESS EVIDENCE

      Mr. Pendergrass now moves this Court to reconsider its order denying his

initial motion to suppress evidence seized pursuant to the September 19, 2013,

warrant. Prior defense counsel filed a short motion to suppress and a supplement

to that motion arguing that the search warrant at issue (doc. 44-1) lacked probable

cause. Docs. 26, 40. This motion was denied. Docs. 47. Defense counsel failed

to file objections to the report and recommendation and it was adopted by the

district court. Doc. 52. Mr. Pendergrass asserts that prior counsel failed to note the

lack of nexus between the place to be searched and the crimes alleged. Further, all

of the criminal activity outlined occurred in May and June of 2013 and the officer

failed to show that the information was still valid in September 2013, at the time

the warrant was requested.
     Case 1:17-cr-00224-AT-CMS Document 132 Filed 10/07/19 Page 2 of 7




      For the reasons outlined below, the warrant was invalid. The Leon good faith

exception should not apply because the issuing magistrate wholly abandoned his

judicial role by issuing a search warrant for an address that had no tie the crime

alleged.

I.    THE WARRANT FAILS TO ALLEGE A NEXUS BETWEEN THE
      PLACE TO BE SEARCHED AND THE CRIME ALLEGED AND THE
      EVIDENCE RELIED UPON WAS STALE.

      The Fourth Amendment requires that a warrant particularly describe the place

to be searched and the items or persons to be seized; exploratory rummaging is

prohibited. United States v. Fannin, 817 F.2d 1379, 1382 (9th Cir.1987). The

Warrant Clause of the Fourth Amendment categorically prohibits the issuance of

any warrant except one “particularly describing the place to be searched and the

persons or things to be seized.” Garrison, 480 U.S. at 84, 107 S. Ct. at 1016. The

manifest purpose of this particularity requirement was to prevent general searches.

By limiting the authorization to search to the specific areas and things for which

there is probable cause to search, the requirement ensures that the search will be

carefully tailored to its justifications, and will not take on the character of the wide-

ranging exploratory searches the Framers intended to prohibit. Id.

      As outlined in the magistrate court’s report and recommendation, APD

Officer Ricks provided a sworn affidavit in support of the September 19, 2013

warrant. (Doc. 44-1.) In the affidavit, he details an investigation in to fraudulently-


                                           2
     Case 1:17-cr-00224-AT-CMS Document 132 Filed 10/07/19 Page 3 of 7




obtained checks that were mailed to a P.O. Box in Fayetteville, Georgia in June of

2013. The checks were issued to a company called Asset Financial Recovery, Inc.

In the affidavit, the officer, with very little information to back up his claims,

requests a warrant to search a physical address in Atlanta, that he believes is tied to

a company called Asset Financial Recovery, LLC. He does not attempt to tie the

P.O. box (the only location actually tied to a crime) to the physical address to be

searched and he does not attempt to show that the P.O. box is owned, operated, or

controlled by Allen Pendergrass or anyone associated with the physical address to

be searched. Instead, Officer Ricks makes a giant leap from the fraudulent checks

sent to the P.O. box and the physical address to be searched. It appears that Officer

Ricks called Wells Fargo and obtained information in violation of the Right to

Financial Privacy Act (without a warrant) and traced the checks, but the officer does

not even provide sufficient information to show how he connected the checks to the

physical address to be searched. Any argument that seeing Mr. Pendergrass’ car

parked outside the address to be searched on one occasion constitutes a sufficient

nexus should be rejected.

      Here, the officers used boilerplate language to justify a search of 4854 Old

National Hwy. They did so without making any factual connection between the

entity seeking checks from the City of Atlanta – Asset Financial Recovery, Inc.

and the business located at the stated address – Asset Financial Recovery, LLC.


                                          3
     Case 1:17-cr-00224-AT-CMS Document 132 Filed 10/07/19 Page 4 of 7




Further, the checks at issue were mailed to a completely different address than the

one searched. As noted in the affidavit, the checks were mailed to Post office box

# 1809 in Fayetteville, Georgia 30214. Probable cause to search requires some

nexus between the premises and the alleged crime. See United States v. Jenkins, 901

F.2d 1075, 1080–81 (11th Cir.1990). None was provided. For this reason, the

evidence seized pursuant to this warrant should be suppressed. See United States

v. Green, 634 F.2d 222, 226 (11th Cir. Unit B 1981) (finding no probable cause to

search based on an agent's general assumption that evidence of a crime committed

in California was likely to be found in the defendant's home in Florida).

      Finally, the evidence relied upon in the September 13, 2013 warrant

application was from May and June of 2013. There is no evidence that evidence of

these crimes would be at an entirely different location several months later. For

that reason, suppression is required. See United States v. Bervaldi, 226 F.3d 1256,

1264 (11th Cir. 2000) (The affidavit must establish that probable cause exists at the

time the warrant was issued).




                                          4
      Case 1:17-cr-00224-AT-CMS Document 132 Filed 10/07/19 Page 5 of 7




II.    THE LEON GOOD FAITH EXCEPTION1 SHOULD NOT SAVE THE
       WARRANT IN THIS CASE.

       Under United States v. Leon, 468 U.S. 897, 923 (1984), however, the “good

faith” exception to the rule requiring the suppression of evidence for violations of

the Fourth Amendment keeps evidence from being suppressed only when law

enforcement officers obtain evidence through objective good faith reliance on a

facially valid warrant that is later found to lack probable cause. See United States

v. Gonzalez, 969 F.2d 999, 1004 n.4 (11th Cir. 1992).           However, “in some

circumstances the officer will have no reasonable grounds for believing that the

warrant was properly issued.” Leon, 468 U.S. at 922-923. Leon’s good faith

exception does not apply to the following situations: (1) where the magistrate in

issuing a warrant was misled by information in an affidavit that the affiant knew

was false or would have known was false except for his reckless disregard of the

truth; (2) where the issuing magistrate wholly abandoned his judicial role; (3) where

the affidavit supporting the warrant is so lacking in indicia of probable cause as to

render official belief in its existence entirely unreasonable; and (4) where,


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       It should be noted that there is no good faith exception in Georgia state
       courts. See Abercrombie v. State, 343 Ga. App. 774 (2017). As this Court
       knows, Mr. Pendergrass has filed a motion to dismiss based upon pre-
       indictment delay (doc. 90), which is based in part on the decision to prosecute
       Mr. Pendergrass in federal court rather than in State court. It appears the
       government would like to benefit from the legal distinction in how the
       different sovereigns apply (or do not apply) a good faith exception to search
       warrants.
                                          5
     Case 1:17-cr-00224-AT-CMS Document 132 Filed 10/07/19 Page 6 of 7




depending upon the circumstances of the particular case, a warrant is so facially

deficient that the executing officers cannot reasonably presume it to be valid. United

States v. Robinson, 336 F.3d 1293, 1296 (11th Cir. 2003).

      Here, the magistrate wholly abandoned his judicial role by issuing a search

warrant for a physical address in Atlanta, when the only allegation of criminal

activity was tied a P.O. Box in Fayetteville. For this reason, the evidence seized

from 4854 Old National Hwy should be suppressed.

      Because prior defense counsel failed to raise valid issues supporting

suppression, Mr. Pendergrass asks this Court to grant his motion to reconsider the

denial of his motion to suppress.

      Respectfully submitted this 7th day of October 2019.

                                        Respectfully submitted,
                                        s/Saraliene S. Durrett
                                        SARALIENE S. DURRETT
                                        GA Bar No. 837897
                                        Attorney for Allen Pendergrass




                                          6
     Case 1:17-cr-00224-AT-CMS Document 132 Filed 10/07/19 Page 7 of 7




                          CERTIFICATE OF SERVICE

      THIS IS TO CERTIFY that I have this day served upon all counsel of record a

true and correct copy of the foregoing motion by electronic filing through the Court’s

CM/ECF system.

      This 7th day of October 2019.
                                        Respectfully submitted,
                                        s/Saraliene S. Durrett
                                        SARALIENE S. DURRETT
                                        GA Bar No. 837897
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                                          7
